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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division


ROBERT TREPETA,
on behalf of himself and all other
similarly situated individuals,

              Plaintiff,

V.                                                Civil Action No. 3:19cvl81-HEH


CAPITAL ONE FINANCIAL
CORPORATION


              Defendant.


                                      FINAL ORDER


        THIS MATTER is before the Court on Plaintiffs Notice of Dismissal Without

Prejudice(ECF No.4)filed pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(i).

It appearing appropriate to do so, it is HEREBY ORDERED that this action is

DISMISSED WITHOUT PREJUDICE.


        The Clerk is directed to send a copy ofthis Order to all counsel ofrecord.

        It is so ORDERED.




                                                                    /s/
                                                 Henry E. Hudson
                                                 Senior United States District Judge
Date:
Richmond, VA
